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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS


In    S & S Heavy Haul, LLC
Re:                                                   Case No.: 18−33318                                       ENTERED
                                                                                                               06/19/2018
      Debtor
                                                      Chapter: 7


                        NOTICE AND ORDER REGARDING MOTIONS TO LIFT STAY



The Attorney who signs a Motion to Lift Stay must personally appear in Court at all hearings relating to the motion
unless an agreed order has been filed with the Clerk of Court at least two (2) business days prior to the scheduled
hearing. The attorney who signs the motion may not send another attorney in lieu of appearing personally. Sanctions
may be imposed for failure to personally appear.

It is so ORDERED.


Signed and Entered on Docket: 6/19/18
